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                               IN THE UNITED STATES DISTRICT COURT
                                FOR THE EASTERN DISTRICT OF TEXAS
                                        SHERMAN DIVISION

       SIEMENS PRODUCT LIFECYCLE                          §
       MANAGEMENT SOFTWARE INC.,                          §
                                                          §
                       Plaintiff,                         §
                                                          §
       v.                                                 §   CASE NO. 4:18-CV-109-ALM-KPJ
                                                          §
       MERCURY METAL FORMING                              §
       TECHNOLOGIES, LLC,                                 §
                                                          §
                       Defendant.                         §
                                                          §

                           ORDER SETTING HEARING ON PLAINTIFF’S
                              MOTION FOR DEFAULT JUDGMENT

               Plaintiff Siemens Product Lifecycle Management Software Inc.’s (“Plaintiff”)

       moved for a default judgment on May 1, 2018. See Dkt. 8. The Clerk made its Entry of

       Default on April 6, 2018. See Dkt. 7. Before the Court enters a default judgment in this case,

       Plaintiff must prove up its damages. Accordingly, the Court will conduct a hearing at which

       Plaintiff shall present evidence to support their damage claims.

               IT IS THEREFORE ORDERED that that a hearing is set for June 12, 2018, at
.      2:15 p.m., before the undersigned in Courtroom 108, 7940 Preston Road, Plano, Texas

       75024. Plaintiff shall be prepared to present any necessary argument and evidence in support

       of the relief requested.

               IT IS SO ORDERED.

               SIGNED this 10th day of May, 2018.

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                                                     ____________________________________
                                                     KIMBERLY C. PRIEST JOHNSON
                                                     UNITED STATES MAGISTRATE JUDGE
